               Case 4:22-cv-00343-Y Document 86-1 Filed 04/08/23                  Page 1 of 4 PageID 1901



                                            TRANSITION AGREEMENT
  (
                    This TRANSITION AGREEMENT (hereinafter referred to as the "Agreement") is
             entered into between President ROBERT ROSS (hereinafter referred to as "ROSS"), and
             the ASSOCIATION OF PROFESSIONAL FLIGHT ATTENDANTS, through its Voting Board
             of Directors and on behalf of any and al! of its officers, directors, employees, agents,
             members, and attorneys, in their official and individual capacities, together with their
             successors both jointly and severally (hereinafter collectively and individually referred to as
             "APFA").
                    WHEREAS, President ROSS and APFA, through its Voting Board of Directors, find it
             mutually beneficial and in the best interests of the membership to enter into this Transition
             Agreement; and
                   WHEREAS, President ROSS has previously announced his intention not to seek re­
             election for APFA President, and as such the parties have agreed on the terms of this
             Agreement.
                    NOW THEREFORE, In consideration of the mutual covenants contained in this
   ----._    Agreement, President ROSS and APFA (hereinafter collectively referred to as "the Parties"),
\.._         intending to be legally bound, po hereby stipulate and agree as follows:
                    1.    ROSS hereby voluntarily and irrevocably resigns from his position as the
                          National President of APFA effective at the close of the 2018 APFA
                          Convention, and agrees to announce his resignation by the close as well.
                   2.     ROSS will have access through the close of business on March 9, 2018 to his
                          APFA office, files, and computer to finalize his affairs. Starting upon the
                          announcement of the resignation, all emails, telephonic calls, correspondence
                          and affairs regarding or directed to the APFA National President shall be
                          immediately routed to the successor APFA National President.
                   3.     APFA agrees that ROSS will continue to receive from APFA his current full
                          salary and benefits, including full insurance coverage, through July 31, 2018.
                   4.     APFA agrees to pay ROSS all of his accrued and unused sick and accrued
                          and unused vacation time, from April 1, 2016 through July 31, 2018.
                   5.     APFA agrees to pay Ross, upon his request, a one-time lump sum in the total
                          amount of ten thousand dollars ($10,000.00), which represents ROSS's
-------.._
                          moving expenses. ROSS shall present the moving expenses to APFA for

                 Page 1 of4                                                           March 1, 2018:1.0


                                                                                               Exhibit A
Case 4:22-cv-00343-Y Document 86-1 Filed 04/08/23   Page 2 of 4 PageID 1902




                                                             Exhibit A
Case 4:22-cv-00343-Y Document 86-1 Filed 04/08/23   Page 3 of 4 PageID 1903




                                                             Exhibit A
Case 4:22-cv-00343-Y Document 86-1 Filed 04/08/23   Page 4 of 4 PageID 1904




                                                             Exhibit A
